Case 2:05-cr-20207-SH|\/| Document 20 Filed 07/14/05 Page 1 of 2 Page|D 14

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IN THE UNITED STATES DISTRICT COURT,=‘L.ED `

FOR THE WESTERN DISTRICT OF TENNESS AH`\;QS
WESTERN DIVISION EESJUL`h

   

 

Il-UMBM,GOUD
UNITED STATES OF AMERICA,

Plaintiff,
vs.

CR. NO. 05-20207-Ma

LINDON L. OLIVER,

Defendant.

 

ORDER ON CONTINULNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on. June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from June 24, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I'r rs so oRnEREn this 13%\ day cf July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

